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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


     PLAINTIFFS’ RESPONSE TO MOTION FOR LEAVE TO FILE BRIEF AND
  EXHIBITS UNDER SEAL AND FOR CONDITIONAL ORDER TO PERMIT FORMER
                         COUNSEL TO TESTIFY

        Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”)

 (collectively, “Plaintiffs”) submit this response to the Motion for Leave to File Brief and

 Exhibits Under Seal and For Conditional Order to Permit Former Counsel to Testify (“Motion to

 Seal”) filed by Defendant Joseph C. Loomis (“Joe Loomis”) and adopted by reference by

 Defendant Jenni M. Loomis (“Jenni Loomis”) (collectively, “Defendants”). There is no dispute

 among the parties regarding the necessity of sealing the motion to enforce the settlement

 agreement, opposition and reply papers, and certain exhibits thereto. Joe Loomis contends,

 however, that Local Rule 83.6 requires the papers to be sealed and prohibits introduction of

 evidence at the hearing, specifically his former counsel’s testimony, regarding the settlement

 negotiations and resulting settlement agreement. While Joe Loomis more fully briefed this

 argument in his opposition to the motion to enforce the settlement agreement, he has requested in

 the Motion to Seal a conditional order permitting his former counsel to testify at the hearing.

 Plaintiffs believe this is a non-issue, as Local Rule 83.6 does not prohibit introduction of
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 evidence regarding settlement negotiations and agreements for the purpose of enforcing a

 settlement agreement. Notwithstanding, Plaintiffs briefly shall address Joe Loomis’ argument.

        Taken to its logical extreme, Joe Loomis’s interpretation of the Local Rule would permit

 parties to enter into binding settlement agreements, breach the agreements, and leave their

 counterparts devoid of any recourse, as evidence of the settlement would be excluded from any

 enforcement hearing. Neither Local Rule 83.6 nor Federal Rule of Evidence 408 countenance

 such a result. Local Rule 83.6 provides that the substance of communications during a mediation

 must not be disclosed to nonparticipants. The Local Rule provides, however, that it does not

 modify Federal Rule of Evidence 408:

        (E) The substance of communication in the mediation process shall not be
        disclosed to any person other than participants in the mediation process; provided,
        however, that nothing herein shall modify the application of Federal Rule of
        Evidence 408 nor shall use in the mediation process of an otherwise admissible
        document, object, or statement preclude its use at trial.

 See Local Rule 83.6(E), Local Rules for the United States District Court, Eastern District of
 Virginia (May 12, 2009) (emphasis added).

        Federal Rule of Evidence 408 provides that although evidence regarding compromise or

 offers to compromise is not admissible at trial to prove liability for, invalidity of, or amount of a

 claim, or to impeach a participant, such evidence is admissible for other purposes:


        Rule 408 Compromise and Offers to Compromise

        (a) Prohibited uses. Evidence of the following is not admissible on behalf of any
        party, when offered to prove liability for, invalidity of, or amount of a claim that
        was disputed as to validity or amount, or to impeach through a prior inconsistent
        statement or contradiction: (1) furnishing or offering or promising to furnish or
        accepting or offering or promising to accept, a valuable consideration in
        compromising or attempting to compromise the claim, and (2) conduct or
        statements made in compromise negotiations regarding the claim, except when
        offered in a criminal case and the negotiations related to a claim by a public office
        or agency in the exercise of regulatory, investigative, or enforcement authority.



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        (b) Permitted uses. This rule does not require exclusion if the evidence is offered
        for purposes not prohibited by subdivision (a). Examples of permissible purposes
        include proving a witness's bias or prejudice; negating a contention of undue
        delay; and proving an effort to obstruct a criminal investigation or prosecution.


 See Federal Rule of Evidence 408 (emphasis added).

        Among those “other purposes” is the enforcement of a settlement agreement. Indeed,

 courts have held that evidence regarding settlement negotiations and agreements is admissible

 for purposes of enforcing a settlement agreement. See Loppert v. Windsortech, Inc., 865 A.2d

 1282, 1286 (Del. Ch. 2004) (evidence of settlement negotiations was admissible in action to

 enforce settlement agreement). In Loppert, for example, the defendant contended that Delaware

 Rule of Evidence 408 prohibited the plaintiff from relying on evidence of settlement negotiations

 during a hearing to enforce the settlement agreement. The court, however, held that the plaintiff

 could introduce such evidence to prove the existence of the settlement:

        Here, Plaintiffs are not offering evidence of settlement negotiations to prove that
        Defendants are liable in the underlying action. Plaintiffs are proferring evidence
        of compromise to prove the compromise itself.

        “One permissible use of compromise evidence that is universally acknowledged
        both in the case law and by treatise writers occurs in situations in which the
        compromise is itself the subject of the present action.”… Also, the underlying
        purpose of Rule 408, encouraging settlements, is furthered by admitting evidence
        of alleged settlement agreements. [Defendant’s] position would allow lawyers to
        negotiate and reach agreement on settlements, violate them at will, and then
        exclude all evidence of the negotiations (effectively what is happening here).
        Permitting such an approach “would flout the policy of promoting compromises
        under the Rule.”

 865 A.2d at 1286 (quoting David P. Leonard, The New Wigmore – A Treatise On Evidence §

 3.1.1 at 406-07 (2002) (emphasis added) and Starter Corp. v. Converse, Inc., 170 F.3d 286, 294

 (2d Cir. 1999)).

        As in Loppert, Plaintiffs intend to introduce at the hearing evidence regarding the

 settlement negotiations and settlement agreement entered into by the parties during the


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 settlement conference held in Magistrate Judge Buchanan’s chambers on January 14, 2010 for

 the sole purpose of enforcing the settlement agreement. Plaintiffs do not seek to introduce such

 evidence to establish Defendants’ liability for the claims in the underlying action. Accordingly,

 Local Rule 83.6 does not prohibit the parties in this case from introducing testimony or other

 evidence regarding the settlement negotiations and resultant settlement agreement.


  Dated: July 7, 2010                         Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of July, 2010, I will electronically file the foregoing

 Response to Motion for Leave to File Brief and Exhibits Under Seal and For Conditional Order

 to Permit Former Counsel to Testify to with the Clerk of the Court using the CM/ECF system,

 which will then send a notification of such filing (NEF) to the following:

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